November 25, 2024

VIA ECF

Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

        We respectfully submit this letter on behalf of Defendant Sean Combs in response to the
government’s letter submitted today (Dkt. 86). The government’s 13-page letter re-hashes old
arguments, adds new arguments, and seeks to supplement the factual record even though the
parties have already provided full briefing, and the Court held a lengthy bail hearing on Friday,
November 22, 2024. The Court asked the parties for “short letters” on a very specific legal issue.
Mr. Combs’ letter responded to the Court’s request and addressed only that issue.

        Mr. Combs objects to the government’s submission to the extent it goes beyond
responding to the Court’s specific question, and requests that the Court not consider any new or
repetitive information in the government’s letter.


                                                    Respectfully Submitted,

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